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                     EXHIBIT 6
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                                                          Return to housing/
                                                          alternate resolution




                                                                  No



                                        Face to face
                                   evaluation and SRE
                                                           Crisis bed referral
                                    completed by MH                                       Yes
                                                                needed?
                                   clinician emergently




                                         Refer to
                                        EHRS MH
                                         Consult
                                        Business
                                          Hours
                                        Workflow

                                           Yes

                                                                                                                                  Level of care change to
             Patient moved to                                                                                                      MHCB, MHCB referral
               safe housing          During business                                                  Refer to EHRS              ordered, patient placed in                    Refer to
IP Crisis
               location and              hours?                                                       MHCB Referral               alternative housing and                    HCPOP MHCB
            constantly observed                                                                         Workflow                     HCPOP contacted                           workflow
                                                                                                                                   Start 24 hour transfer
                                                                                                                                          timeline
                                           No

                                          Refer to
                                         EHRS MH
                                        Consult On‐
                                         Call Hours
                                         Workflow




                                                                                                Did on call provider
                                     On call provider      Crisis bed referral   Yes                                              Yes
                                                                                                conduct face to face
                                    contacted by nurse          needed?
                                                                                                evaluation and SRE?



                                                                                                                                                Yes
                                                                  No

                                                                                                          No
                                                                                                                                                                      Rescind referral
                                                          Return to housing/                                                                                            immediately
                                                                                                                                                               No
                                                          alternate resolution                                                                                         (refer to EHRS
                                                                                                     Face to face                                                   rescission workflow)
                                                                                                 evaluation and SRE
                                                                                                                                         Crisis bed referral
                                                                                                 completed by MH
                                                                                                                                           stilll needed?
                                                                                                clinician first thing in
                                                                                                       morning

                                                                                                                                                                    Return to housing/
                                                                                                                                                                    alternate resolution



                                                                                                                                                                         Exhibit 6 - 001
2‐ HCPOP MHCB ASSIGNMENT PROCESS                                                                                                                                                                  Case 2:90-cv-00520-KJM-SCR               Document 5680-7     Filed 09/13/17        Page 3 of 21                                                                                                                                                                                                                                                                   August 25, 2017




      Clinical
                                         MHCB referral
 determination a
                                        Emailed to HCPOP
 patient requires      YES
                                       requesting a MHCB
  treatment in a
                                          for patient.
      MHCB
                                                                                                                                                                                                                                                                                                                                                                                        Is there bed space
                                                                                                                                                                                                                                                                                                                                                                                                                                      YES                          Assign to SQ MHCB
                                                YES                                                                                                                                                                                                                                                                                                                                        in the SQ PIP?

        NO


                                                                                                                                                        Enter referral                                                                                                                                               YES
                                                                                                                                                                                         Print or review                                                   Comparing the
                                                                                                                                                          into HEART                   Pending List Report                  Identify all
                              HCPOP staff assigned to MHCB desk                                                                                                                                                                                          SOMS vacant beds                                                                                                                      NO
                                                                                 Review email and                                                       indicating the                 showing all patients              vacant beds by
                               reviews all emails to determine if                                                   Verify reason for                                                                                                                   and the Pending List
Returned to housing                                                            verify the Name, CDCR                                                        reason                      waiting for MHCB                 reviewing each
                             rescinded or if a referral is sent to the   YES                           YES          placement meets                                                                                                                       Report to identify
     or other                                                                   Number & Institution                                       YES           provided by       YES
                                                                                                                                                                                         assignment and                       MHCB
                             MHCB email address (approximately 43                                                    Program Guide                                                                                                                       the “true” number
                                                                                     are accurate                                                        the sending                      assigned/ not                    institution’s
                                    per day, 7 days a week).                                                            guidelines                                                                                                                       of vacant/available
                                                                                                                                                          institutions                     transferred                   vacant MHCBs                                                                                                                                                 Is there bed space at
                                                                                                                                                                                                                                                             beds at each                                                                                                                                                             YES                            Assign to CMF MHCB
                                                                                                                                                       clinical rational                                                     in SOMS                                                                                                                                                          CMF?
                                                                                                                                                                                                                                                              institution
                                                                                                                                                        for placement



                                                                                                                                                                                                                                                                YES                                                                                                                            NO
                                                YES
                                                                                                                            NO
                                                                                        NO
                                                                                                             YES
                                                                                                                                                 YES                                                                                                                                                                                           Continue to monitor for SQ or CMF MHCB vacancy. Maintain on waitlist based on 24hr
                                         Update HEART                                                                                                                                                                                                                                                                                        clock assign to COR MHCB if there's a vacancy. CSR shall not assign a Condemned patient to
                                                                                                                                                                                                                                                         Are there vacant                        Is patient
                                          indicating the                                                                                                                                                                                                                       YES                                                                                    any institution except SQ, CMF, or COR.
                                                                                                                                                                                                                                                               beds                            Condemned?
                                        referral has been
                                            rescinded
                                                                                                                                                                                 Review all patients that have been
                                                                               Email institution and               Email institution and
                                                                                                                                                                             assigned a bed and have not transferred.
                                                                                      request                             request                                                                                                                               NO
                                                                                                                                                                              Identify cases that have not transferred
                                                                                  correction(s)                       correction(s)
                                                                                                                                                                                within a reasonable amount of time.                                                                                                                               Assign to MHCB at dialysis
                                                YES                                                                                                                                                                                                     Contact institutions
                                                                                                                                                                                                                                                                                                                                                          institution
                                                                                                                                                                                                                                                          and attempt to
                                                                                                                                                                                                                                                                                                      NO
                                                                                                                                                                                                                                                         locate upcoming
                                                                                                                                                                                                                                                         discharges, lend                                                                                      YES
                                         Email receiving                                                                                                                                                                                                 assistance in the
                                          institution the                                                                                                                                                                                                movement of the
                                        referral has been                                                                                                                                                                                                     patient
                                            rescinded
                                                                                                                                                                                          NOT TRANSFERRED
                                                                                                                                                                                           BED ASSIGNED                                                                                                                                                 Is there an MHCB
                                                                                                                                                                                                                                                                                               Is patient on                                                                                                     Retain patient on MHCB wait list until MHCB at
                                                                                                                                                                                                                                                                                                                                  YES                 available at patient's                 NO
                                                                                                                                                                                                                                                                                                  dialysis?                                                                                                           dialysis institution becomes available
                                                                                                                                                                                                                                                                                                                                                       dialysis institution?
                                                                                                                                                                                         Contact sending
                                                                                                                                                                                           institution to
                                                                                                                                                                                         determine why
                                                                                                                                                                                         transfer has not
                                                                                                                                                                                             occurred

                                                                                                                                                                                                                                                                                                      NO




                                                                                                                                                                                                                                                                                            Is there an MHCB                                              Does patient                                                          Is home institution a
                                                                                                                                                                                                                                                                                           available at patient's                   YES                 require Clozapine                           YES                          Clozapine initiation                     YES             Assign to home institution's MHCB
                                                                                                                                                                                                                                                                                            home institution?                                              initiation?                                                               institution?




                                                                                                                                                                                                                                                                                                                                                               NO
                                                                                                                                                                                                                                                                                                                                                                                                                                            NO




                                                                                                                                                                                                                                                                                                                                                                                                                      Treat patient as if he's from the Northern
                                                                                                                                                                                                                                                                                                                                                         Assign to home
                                                                                                                                                                                                                                                                                                                                                                                                                       Region and follow placement procedure
                                                                                                                                                                                                                                                                                                      NO                                               institution's MHCB
                                                                                                                                                                                                                                                                                                                                                                                                                                     accordingly




                                                                                                                                                                                                                                                                                                                                            Is there an MHCB available in patient's
                                                                                                                                                                                                                                                                                              Is patient SLI?                                                                                                                     Assign to SLI MHCB within
                                                                                                                                                                                                                                                                                                                           YES             region (including the flexible circle) at an                         YES
                                                                                                                                                                                                                                                                                                                                                                                                                                    region/flexible circle
                                                                                                                                                                                                                                                                                                                                                        SLI institution?




                                                                                                                                                                                                                                                                                                                                                                   NO




                                                                                                                                                                                                                                                                                                   NO                                       Is there an MHCB available in patient's
                                                                                                                                                                                                                                                                                                                                          region (including the flexible circle) at a VRI                 YES                Assign to VRI MHCB within region/flexible circle
                                                                                                                                                                                                                                                                                                                                                          institution?




                                                                                                                                                                                                                                                                                                                                                                   NO




                                                                                                                                                                                                                                                                                                                       Maintain on MHCB wait list until SLI or VRI MHCB becomes available intra‐
                                                                                                                                                                                                                                                                                                                    regionally; CSR has discretion to assign to SLI/VRI MHCB outside the region based
                                                                                                                                                                                                                                                                                                                                       on overall waitlist per region and 24hr clock




                                                                                                                                                                                                                                                                                         Does patient require                                                                                                   Treat patient as if he is from the Northern Region and follow placement
                                                                                                                                                                                                                                                                                                                                                             YES
                                                                                                                                                                                                                                                                                         Clozapine initiation?                                                                                                                              procedure accordingly




                                                                                                                                                                                                                                                                                                  NO




                                                                                                                                                                                                                                                                                                                                                                                   Is there a vacant MHCB at a
                                                                                                                                                                                                                                                                                         Does patient require                                                                  Clozapine maintenance institution in
                                                                                                                                                                                                                                                                                                                                               YES                                                                                          YES                     Assign to MHCB at Clozapine maintenance institution in patient's region or within flexible circle, if applicable.
                                                                                                                                                                                                                                                                                       Clozapine maintenance?                                                                   the patient's region (including the
                                                                                                                                                                                                                                                                                                                                                                                          flexible circle)?




                                                                                                                                                                                                                                                                                                                                                                                               NO

                                                                                                                                                                                                                                                                                                 NO
                                                                                                                                                                                                                                                                                                                            Retain patient on MHCB wait list until MHCB at Clozapine maintenance institution becomes available and based on the 24 hour
                                                                                                                                                                                                                                                                                                                           clock. Retain patient on the MHCB wait list until intra‐region Clozapine maintenance MHCB is available or assign him to a vacant
                                                                                                                                                                                                                                                                                                                                                        MHCB at a Clozapine maintenance institution in an adjacent region first




                                                                                                                                                                                                                                                                                       Has patient been on
                                                                                                                                                                                                                                                                                                                                                     Continue to monitor for vacant MHCBs and assign within region/
                                                                                                                                                                                                                                                                                       MHCB wait list for 24                      NO
                                                                                                                                                                                                                                                                                                                                                                             circle if possible
                                                                                                                                                                                                                                                                                         hours or more?




                                                                                                                                                                                                                                                                                                YES




                                                                                                                                                                                                                                                                                         Does PVSP MHCB                                               Based on 24hr clock maintain patient on wait list or assign to vacant MHCB in adjacent
                                                                                                                                                                                                                                                                                                                                  NO
                                                                                                                                                                                                                                                                                         have a vacancy?                                                                                     region




                                                                                                                                                                                                                                                                                                YES




                                                                                                                                                                                                                                                                                       Does patient require
                                                                                                                                                                                                                                                                                                                                                      Do not assign to PVSP MHCB. Maintain patient on wait list based on 24hr
                                                                                                                                                                                                                                                                                       Clozapine initiation or                    YES
                                                                                                                                                                                                                                                                                                                                                                  clock or assign to vacant MHCB in adjacent region
                                                                                                                                                                                                                                                                                           maintenance?




                                                                                                                                                                                                                                                                                                NO

NOTES:
1.      Regional executive staff can authorize deviation from the placement guidelines above.
2.      Male patients being referred for Clozapine initiation shall be treated as Northern Regioners (i.e., they shall be included in the chronological ordering of Northern Region patients for
                                                                                                                                                                                                                                                                                         Is patient cocci‐2                                Do not assign to PVSP MHCB. Maintain patient on wait list based on 24hr clock or assign to
purposes of MHCB assignment).                                                                                                                                                                                                                                                                restricted?
                                                                                                                                                                                                                                                                                                                            YES
                                                                                                                                                                                                                                                                                                                                                                      vacant MHCB in adjacent region
3.      Special cases (i.e., Clozapine maintenance, Condemned, and SLI patients) shall be assigned in accordance with the flowchart above based on the patient’s individual parameters:
a.      Clozapine maintenance patients must be assigned to a Clozapine maintenance institution.
b.      Condemned patients must be assigned to SQ PIP unless there is no bed space (Condemned MHCB patients have priority placement in the SQ PIP over non‐Condemned SQ MHCB
patients housed in the SQ PIP; non‐Condemned SQ MHCB patients shall be relocated to alternate MHCBs if necessary); CMF and COR are the alternate options if the SQ PIP is full.
c.      SLI patients (those with a DPS or DPH code with a primary method of communication of “American Sign Language” in the SOMS ADA screen) must be assigned to an in‐region SLI*
institution unless there is no bed space.
                                                                                                                                                                                                                                                                                          Assign to PVSP
i.      If there is no bed space at an in‐region SLI institution, they shall be assigned to an MHCB at an in‐region VRI* institution.                                                                                                                                                         MHCB
ii.     If there is no bed space at an in‐region VRI institution, HCPOP Management shall be contacted once they’ve been on the MHCB wait list for 24 hours for permission to assign to an
MHCB in an adjacent region (placement in an SLI MHCB is preferred; placement in a VRI MHCB is second preference).
4.      A patient who remains unassigned to an MHCB within his own region nearing/after 24 hours may remain on the wait list or be assigned to a vacant MHCB in an adjacent region based
on the 24‐hour clock. The CSR shall take into account the anticipated likelihood of an MHCB becoming available within the home region in the near future, the current availability of MHCBs
statewide, and continuity of care issues in exercising discretion.
5.      Clozapine initiation institutions: CCWF, CIW, CMF, SAC, SQ
6.      Clozapine maintenance institutions: CCWF, CIW, CMF, COR, SAC, MCSP, NKSP, SQ, VSP
7.      SLI institutions: RJD, CIM, NKSP, CHCF, CMF, SATF, CCWF, DVI, LAC
8.      VRI institutions: ASP, CEN, CIW, CMC, COR, CRC, HDSP, KVSP, SAC, SQ, SVSP




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Exhibit 6 - 002             Page 1
3‐ CUSTODY LOCAL INSTITUTION PATIENT     TRANSFER TODocument
                               Case 2:90-cv-00520-KJM-SCR MHCB   INSTITUTION
                                                             5680-7 Filed 09/13/17 Page 4 of 21                                                                                                                                                                                          August 25, 2017




                                                     Mental Health, Medical,
The referring institution sends an                       C&PR Office and
    email identifying inmates                         Transportation team:
 currently Housed in Alt Housing                    Clears any issues that may
                                                         halt movement.


                                                                                       The Assistant C&PR and Mental Health
                                                                                      Staff maintain communication with each
                                                                                       other to address any last minute issues
                                                     Mental Health, Medical,            to ensure there no stop movement.
                                                          C&PR Office and
   HCPOP sends out an email
                                                    Transportation team: Are
assigning the patient to a MHCB
                                                    notified and start planning
        location and bed
                                                   transportation location and
                                                               times




   Mental Health Staff begin
   processing the inmate and
   making contact for clinical
          acceptance




                                                                                                                                                                                                                                 At the same time Asst. C&PR is asking receiving
                                                                                                                                Records, Pharmacy, Medical &
                                                                                                                                                                                                                              institution or institutions in the area if they have any
                                                                                                                                Mental health will have all items
                                                                                                                                  needed ready for transfer
                                                                                                                                                                                                                              discharges that need to be returned to the receiving
                                                                                                                                                                                                                                                      Institution




                                 Assistant C&PR makes contact with the                 Assistant C&PR sends an email                                                                     Assistant C&PR makes contact with the
                                                                                                                                             Assistant C&PR receives transfer chrono
                                  Sending Institutions transportation              notification to the appropriate sending                                                              receiving institution to ensure they have
                                                                                                                                             from Mental Health staff and completes
                                  Sergeant and confirms the patient is            and receiving institutional staff detailing                                                          been notified and can physically accept the
                                                                                                                                                the Non‐Committee Endorsement
                                     medically cleared for transport.                   transportation arrangements.                                                                                     inmate. .




                                                                                                                                                                                                                                                                                   Exhibit 6 - 003   Page 1
5‐ MHCB INSTITUTION CUSTODY DISCHARGE        PROCESS Document 5680-7 Filed 09/13/17 Page 5 of 21
                               Case 2:90-cv-00520-KJM-SCR                                                                                                                                                                                                                                                     August 25, 2017



                                   MHCB send tentative discharge schedule                                                                                                  Assistant C&PR and Transportation Sgt. will coordinate the return   Assistant C&PR will continue to monitor for additional MHCB acceptance or
                                                                                                  Sending a discharge back to original institution/re‐direct HCPOP          of any inmates that may have discharged from MHCB and were                    discharges and work with transportation for logistics.
                                             to C&PR’s office
                                                                                                                                                                                            housed at different institutions.




                                  Is the inmate able to return to his/her original institution?                        (NO)
                             **Original Institution must be able to accommodate the patient, by
                                      ensuring the patient is cleared for each case factor               Patient does not meet case factors




        Does the patient
                                                         (YES)
         clear Custody
                             If the patient clears all of the case factors (Proceed)


                                     Upon notice of discharge the sending
                                    institution will initiate the transport via                                           Re‐direct sent to HCPOP for endorsement
                                                        NTH

         Does the patient                                                                                                  Sending a MHCB to another institution
       clear Mental Health
                                                                                                                     HCPOP notifies the institution of bed assignment at
                                                                                                                                      receiving facility.




                                   If NTH cannot accommodate reach out to                                                        Records staff prepares 135
                                     receiving institution for transportation
        Does the patient
         clear Medical
                                                                                                                       Contact transportation and advise of transport
                                                                                                                                       (immediate)



                                                                                                                       Await Medical clearance from MHCB staff and
                                                                                                                                         transport
        Does the patient
           clear ADA

                                                                                                                          Notify transportation of medical clearance




                                                                                                                          Have inmate escorted to R&R for transfer.




                                                                                                                       Compete Non‐Committee Transfer Endorsement




                                                                                                                             Notify Receiving institution of arrival.




                                                                                                                                                                                                                                                                                                   Exhibit 6 - 004         Page 1
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                                                                    Health Care Access
                                                                         OPERATIONAL
                                                                          PROCEDURE
                         Central California                                 MH-001
                         Women’s Facility
                                                                    Mental Health Crisis Bed
                                                                           Program

                                                                    Addendum: August 2017


I.      TITLE:

        Mental Health Crisis Bed Program


VII.    PROCEDURE:

        C. Housing and Overflow Procedures in MHCB:

           1. When a patient cannot be admitted to MHCB within the policy requirement of
              24 hours due to a lack of available beds, there are temporary housing options
              available. These options include:

              a. Housing into medical designated rooms at the approval of the CEO or designee.
              b. If there are no medical designated rooms available, patients may be temporarily
                 placed in Alternative Housing per the guidelines set forth in CCWF LOP
                 MH-012, Alternative Housing.        Suicide prevention measures, within the
                 temporary housing setting, shall be consistent with the MHCB suicide watch
                 protocol and related post orders.

        J. IDTT:

           4. Each patient admitted to the MHCB LOC will be assessed by MHCB or
              Alternative Housing clinician for double cell housing suitability. Recommendations
              listed on the MHPC Progress Note shall clearly indicate whether the patient is cleared
              or not for double cell and list clinical rationale if patient is or is not suitable for
              double cell housing. Subsequent recommendations shall be documented on a MHPC
              Progress Note.

              a. The MHCB or Alternative Housing staff will consult with the HCAU Captain or
                 Lt., or in their absence the Associate Warden, Health Care Operations, for those
                 patients found suitable for double cell housing. The HCAU Lt. will review
                 SOMS and ERMS to determine if case factors exclude the patient from double
                 cell housing. The HCAU Lt. shall document in SOMS on the CDCR IPTT105
                 Initial Housing Review form any custody concerns or the lack of custody
                 concerns.


                                                                                        Exhibit 6 - 005
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      MH-001 – Mental Health Crisis Bed Program
      Page 2 of 2


               b. When patients are determined suitable by mental health clinician and cleared by
                  custody to be double-celled, a clinician will place a Communication order in the
                  patient’s EHRS chart and clearly document the patient’s suitability on a
                  MHPC Progress Note. For those deemed not suitable for double cell housing, the
                  clinician shall document clinical rationale on a MHPC Progress Note and place a
                  Communication order.
               c. For patients who are classified as max custody, the HCAU Lt. will obtain
                  patient’s signature of consent on an Administrative Segregation Unit / Security
                  Housing Unit Double Cell Review [CDC 1882-B (Attachments I/I1)].
               d. Should a patient refuse to double cell or sign the CDC 1882-B, the HCAU Lt. will
                  issue the patient a Rules Violation Report (CDC Form 115) for Refusing to
                  Accept Assigned Housing.
               e. In the event circumstances change and the clinical staff determines a patient is no
                  longer suitable for double cell housing, the clinician shall complete an updated
                  Communication order stating this revocation on double cell status and ordering
                  single cell status clinical rational for single cell will be clearly documented in a
                  MHPC Progress Note. HCPOP shall be notified of the decision to revoke double
                  cell status.


VIII. ATTACHMENTS:

         I/I1. Administrative Segregation Unit / Security Housing Unit Double Cell Review
               (CDC 1882-B)


IX.      APPROVAL:



      ______________________________                                   __________________
      JIMMY WEBSTER, PHD, CCHP                                               DATE
      Chief Executive Officer



      ______________________________                                   __________________
      J. ESPINOZA                                                            DATE
      Warden (A)




                                                                                         Exhibit 6 - 006
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                                                                       Health Care Access

                                                                  OPERATIONAL PROCEDURE
                                                                         MH – 012
                           Central California
                           Women’s Facility
                                                                          Alternative Housing


                                                                       Addendum: August 2017


I.      TITLE:

        Alternative Housing


VII.    PROCEDURE:

        A. Referral to MHCB:

           4. Initial clinical assessment shall include clinical documentation and rationale, not
              custody related factors, for suitability for double cell housing. This assessment and the
              patient’s disposition shall be documented on a MHPC Progress Note and included in
              the clinician’s reply to the Daily Alternative Housing email generated by the
              Alternative Housing Coordinator, or designee. A Communication order will be
              generated by staff.

        B. Housing:

           3. A Psychiatric Technician or Registered Nurse shall be required to conduct rounds of
              ASU status patients alternatively housed in Building 503 or in the A73 holding cell
              located in Building 805 in accordance with ASU procedures. All contacts will be noted
              in the appropriate Inmate Segregation Record (CDC 114-A).

        D. Placement in Alternative Housing

           7. Daily clinical assessment shall include clinical rationale, not custody related factors,
              for suitability for double cell housing. This assessment and the patient’s disposition
              shall be documented on a MHPC Progress Note, Communication order and included in
              the clinician’s reply to the Daily Alternative Housing email generated by the
              Alternative Housing Coordinator, or designee.




                                                                                          Exhibit 6 - 007
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      Central California Women’s Facility
      MH-012 – Alternative Housing
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IX.     APPROVAL:



        ____________________________                          __________________
        JIMMY WEBSTER, PHD, CCHP                              DATE
        Chief Executive Officer



        _____________________________                         __________________
        J. ESPINOZA                                           DATE
        Warden (A)




                                                                       Exhibit 6 - 008
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                                       Coleman v. Brown
                     Factors that Contribute to Delays in Timely Transfers
                     to Mental Health Crisis Beds and Proposed Solutions
                                        August 28, 2017

Factors that Contribute to Delays
1. Obtaining the 128C (noting clinical acceptance) prior to admission of the patient to a crisis
   bed.

   Proposed Solutions

       •   Proceed with transfer prior to receipt of the 128C
       •   128C must still be done but will not hold up transfer

   Status
       a. Implemented

2. Medical clearance delays

   Proposed Solutions

       •   Remove Medical Clearance requirement

   Status
       • Pending issuance of a memorandum

3. Transportation

       Proposed Solutions

       •   CDCR is conducting an analysis to determine the scope of the problem, both system-
           wide and at the individual institutions. The initial analysis should be complete by
           August 25, 2017.
       •   In an effort to move inmates more quickly out of beds, Defendants are investigating
           the possible need for more transport vehicles to affect the change in practice.
       •   Added institution AOD on all bed assignment e-mails from HCPOP
       •   Added fine language to the bed assignment e-mails from HCPOP

4. Delays in bed assignments due to lack of available beds.

       Proposed Solution
          • Clozaril initiations only at Acute LOC



                                                                                   Exhibit 6 - 009
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         Status

         •   Memorandum pending


     Proposed Solution


     •   CHCF PIP flipped 28 bed Intermediate unit to an Acute unit.

         Status

     •   Activation began 8/18/17

     Proposed Solution

     •   CCWF patients will be sent to CIW MHCB upon bed availability

         Status

     •   Completed

     Proposed Solution

     •   Operationalize safe double celling of MHCB patients at CCWF

         Status

     •   CCWF began actively working on double celling for MHCB on 8/24/17
     •   LOP DRAFT addendum complete for review

     Proposed Solution

     •   Sending all 4 Regional Administrators and teams to each of the PIPs for the next 3
         weeks to help with LRH review and determination of discharge appropriateness.

         Status

     •   Began 8/21/17




                                                                                 Exhibit 6 - 010
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5. MHCB Discharge Delays

   Proposed Solution

       •   Coordination of medication and pharmacy needs for discharged patients waiting to
           transfer out of a MHCB.
                 • Explore state law requirements for discharge medications
                 • Evaluate Omni cell medication supply
       Status

           •    Continued research and discussion regarding this issue


       Proposed Solution

       •   Consider transferring clinical discharged patients locally pending transfer to home
           institution (within 72 hours)

       Status

       •   Working with SVSP on updating OP to allow for MHCB Discharges (to outside
           institutions) layover process


Additional details and Proposed Solutions to Improve Transfer Times:

1. CDCR has initiated a focus group to analyze and make recommendations on improving the
workflow of the C&PR’s.
2. Monitoring and reporting reasons for delays. CDCR is working to automate tracking of crisis
bed referral timelines, including reasons for delays.




                                                                                    Exhibit 6 - 011
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                                                                   Exhibit 6 - 012
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                                                                  Exhibit 6 - 013
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                                                                   Exhibit 6 - 014
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                                                                  Exhibit 6 - 015
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                                                                  Exhibit 6 - 016
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